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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

 

UNITED STATES OF AMERICA, y
Case No. 1:09-cr-00328
Vv.
Honorable J. Frederick Motz

HARVEY N. NUSBAUM

Defendant.

 

FRED SCHULTE’S MOTION AND INCORPORATED MEMORANDUM
OF LAW TO INTERVENE AND TO UNSEAL THE UNITED STATES’S
SENTENCING MEMORANDUM, AND EXHIBITS THERETO,

AS TO DEFENDANT HARVEY N. NUSBAUM
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Pursuant to Federal Rule of Criminal Procedure 47, Movant-Intervenor Fred Schulte,
through undersigned counsel, respectfully moves to intervene for the limited purpose of this
motion, and further respectfully moves the Court for an order unsealing those portions of the
United States’s Sentencing Memorandum, and exhibits thereto, as to Defendant Harvey N.
Nusbaum which are not otherwise protected from disclosure by Federal Rule of Criminal
Procedure 6(e).

INTRODUCTION

“The Constitution specifically selected the press . . . to play an important role in the
discussion of public affairs.” Mills v. Alabama, 384 U.S. 214, 218 (1966). Indeed, “the press
serves and was designed to serve as a powerful antidote to any abuses of power by government
officials... .” Jd. at 219 (citation omitted). As such, the United States Supreme Court has held
that the First Amendment guarantees the press and the public a general right of access to court
proceedings and court documents unless there are compelling reasons demonstrating why it
cannot be observed. See Globe Newspaper Co. v. Superior Court, 457 U.S. 596, 606-07 (1982);
see also Press-Enterprise Co. v. Superior Court, 464 U.S. 501, 510 (1985) (“Press-Enterprise
I’). Fundamental to First Amendment access to judicial proceedings “is that common
understanding that ‘a major purpose of that Amendment was to protect the free discussion of
governmental affairs.’” G/obe Newspaper Co., 457 U.S. at 604 (citation omitted). Accordingly,
“[pJublic scrutiny of a criminal trial enhances the quality and safeguards the integrity of the
factfinding process... .” /d. at 606.

Mr. Schulte, an investigative reporter for the Huffington Post Investigative Fund, has

effectively been denied that First Amendment right of access by the United States’s filing of its
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Sentencing Memorandum, and exhibits thereto, under seal in this Court on April 14, 2010.! Mr.
Schulte has been investigating bid rigging at tax lien auctions in Maryland since early 2007, long
before the Indictment was filed in this matter. Indeed, after analyzing computerized records of
nearly 90,000 liens offered for sale in Baltimore since May 2000, Mr. Schulte published an
article in the Baltimore Sun on March 25, 2007 that revealed that three investment groups had
purchased approximately two-thirds of the liens sold by Baltimore and four nearby counties.
Approximately five months after publication of that article, the United States executed search
warrants on two of those three entities, including one associated with Defendant Nusbaum. Mr.
Schulte’s investigation has continued, resulting in the publication of additional articles
describing the government’s investigation, the issuance of Indictments in this case and a related
case, and ultimately the three guilty pleas reached thus far. However, the United States’s
decision to file the requested documents under seal effectively curtailed further investigative
journalism, and threatens to erode “the basic fairness of the criminal [proceeding] and the
appearance of fairness so essential to public confidence in the system.” Press-Enterprise I, 464
U.S. at 508.

ARGUMENT

I. MR. SCHULTE SHOULD BE PERMITTED TO INTERVENE FOR A LIMITED
PURPOSE.

Mr. Schulte seeks to intervene in this proceeding for a very limited purpose — to ask the
Court to order the unsealing of the United States’s Sentencing Memorandum, and exhibits
thereto, as to Defendant Nusbaum. Such action is necessary to preserve the press’s First

Amendment presumptive right of access to court proceedings and filings, and to “ensure that the

 

See Sentencing Memorandum by USA as to Harvey M. Nusbaum (Dkt. # 175); Proposed

Sealed Document (Dkt. # 178).
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individual citizen can effectively participate in and contribute to our republican system of self-
government.” Globe Newspaper Co., 457 U.S. at 604 (citations omitted).

Although the Federal Rules of Criminal Procedure do not expressly provide for
intervention, federal courts have consistently and routinely granted requests by the media to
intervene to challenge the sealing of court filings. See, e.g., Stone v. Univ. of Maryland Med.
Sys. Corp., 855 F.2d 178, 180-81 (4th Cir. 1988); Rushford v. New Yorker Magazine, Inc., 846
F.2d 249, 250-54 (4th Cir. 1988); see also Inre Tribune Co., 784 F.2d 1518, 1521 (11th Cir.
1986) (holding that the press has standing to intervene where not otherwise a party to petition for
access to court documents and records). Where, as here, “the interest sought to be protected is
arguably within the zone of interests to be protected by the statute or constitutional guarantee in
question,” intervention is appropriate. United States v. Gurney, 558 F.2d 1202, 1206 (Sth Cir.
1977).

Il. THE COURT SHOULD UNSEAL THE SENTENCING MEMORANDUM AND
EXHIBITS THERETO.

A. The First Amendment Presumptive Right of Access to Court Proceedings
and Documents Extends to Sentencing Memoranda.

The Supreme Court first recognized a First Amendment right to attend criminal trials in
Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 580 (1980) (plurality opinion). As the
Court explained, “[i]n guaranteeing freedoms such as those of speech and press, the First
Amendment can be read as protecting the right of everyone to attend trials so as to give meaning
to those explicit guarantees.” /d. at 575. Indeed, those freedoms become attenuated unless
courts are prohibited “from limiting the stock of information from which members of the public

may draw.” /d. at 575-76 (citation omitted).
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In subsequent cases, the Supreme Court has elucidated and expanded upon that right of
access to criminal proceedings. In Press-Enterprise Co. v. Superior Court, the Court extended
the right of access beyond the trial itself and applied it to preliminary hearings. 478 U.S. 1, 10
(1986) (“Press-Enterprise II”). The Court reasoned that if the proceeding has historically been
open to the public, and if “public access plays a significant positive role in the functioning of the
particular process,” a “qualified First Amendment right of public access attaches.” /d. at 8-9.

Applying that logic, federal courts have extended the First Amendment presumptive right
of access beyond criminal proceedings themselves, holding that it extends to judicial records and
other documents filed with the court if they satisfy the two-factor test employed in Press-
Enterprise II. See, e.g., United States v. Smith, 776 F.2d 1104, (3d Cir. 1985) (holding the right
of access extends to bills of particulars and indictments); United States v. Haller, 837 F.2d 84
(2d Cir. 1989) (plea agreements); Jn re New York Times, 828 F.2d 110, 114 (2d Cir. 1987)
(motion papers); /n re Herald Co., 734 F.2d 93, 101 (2d Cir. 1984) (exhibits at a suppression
hearing).

Although the United States Court of Appeals for the Fourth Circuit has yet to decide
whether the right of access extends to sentencing memoranda, the majority of federal courts
presented with that question have answered in the affirmative. See, e.g., United States v. Chang,
Case Nos. 02-2839 and 02-2907, 2002 U.S. App. LEXIS 19739 (3d Cir. Sept. 20, 2002); see also
United States v. Gordon, Case No. CR 08-00467 (N.D. Cal. Mar. 17, 2009); United States v.
Strevell, Case No. 05-CR-477, 2009 U.S. Dist. LEXIS 19020 (N.D.N.Y. Mar. 4, 2009); United
States v. Taylor, Case No. 5:07-cr-00123, 2008 U.S. Dist. LEXIS 3050 (S.D.W.V. Jan. 15,

2008); United States v. Laberge, Case No. 1:04-CR-487, 2005 U.S. Dist. LEXIS 43911
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(N.D.N.Y. Aug. 26, 2005).” In Lamberge, the court applied the two-factor test announced in
Press-Enterprise I] in granting the media’s request to intervene and unseal the defendant’s
sentencing memoranda. See id. at *10. As to the first factor, the court noted that sentencing
memoranda have traditionally been “filed publicly unless, as here, a party requests a sealing
order.” Jd. at *5. As to the second factor, the court explained that “[c]onsidering the public
nature of defendant’s sentencing, it is logical to conclude that a qualified constitutional right of
access extends to the sentencing memoranda submitted in connection with the proceeding.” Jd.
at 6 (citations omitted).

Mr. Schulte is therefore presumptively entitled a right of access under the First
Amendment to the requested documents.

B. The United States Has Failed to Establish that Sealing the Requested

Documents Is Essential to Preserve Higher Values and Is Narrowly Tailored
to Serve that Interest.

Mr. Schulte’s First Amendment presumptive right of access to the Sentencing
Memorandum and exhibits thereto “may be overcome only by an overriding interest based on
findings that closure is essential to preserve higher values and is narrowly tailored to serve that
interest. The interest is to be articulated along with findings specific enough that a reviewing
court can determine whether the closure order was properly entered.” Press-Enterprise I, 464
U.S. at 510. Here, United States has neither sufficiently articulated an overriding interest nor

narrowly tailored its request to serve that interest.

 

; See also United States v. Kushner, 349 F. Supp. 2d 892, 905 (D.N.J. 2005); United States
v. Hirsh, No. 03-58, 2007 U.S. Dist. LEXIS 45485, at *8-12 (E.D. Pa. June 22, 2007); United
States v. McGrail, No. 05-cr-281-SM, 2006 U.S. Dist. LEXIS 83027, at *1-2 (D.N.H. Nov. 14,
2006).
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In seeking to seal the documents sought here, the United States offered only the
conclusory assertion that “because the investigation is still ongoing, disclosure of this
information could impede the continuing investigation.” United States Motion to Seal (Dkt. #
177). That bare assertion is patently insufficient.’ In Chang, the government sought to resist the
unsealing of a sentencing memorandum, claiming, infer alia, that such unsealing would “reveal
prosecutorial methodology and disadvantage law enforcement in its future efforts.” 2002 U.S.
Dist. LEXIS 19739, at *8. The court rejected that argument and unsealed the memorandum,
explaining that such “bald, unsupported assertions simply fail to overcome the strong
presumption of openness that attaches to judicial documents.” Jd.

The government’s bare assertion here should similarly be rejected. The government has
offered no explanation as to how disclosure of the requested documents could affect the
investigation, or even whether that investigation remains open. To the contrary, as far as Mr.
Schulte is aware, no further Indictments have been issued related to the bid-rigging of auction
sales in Maryland since the Indictment filed in this case almost 1.5 years ago. Because the

United States has failed to articulate an overriding interest to overcome the presumption of

 

; Likewise, the government’s suggestion that the exhibits to the Sentencing Memorandum

could reveal unindicted co-conspirators and cooperators in the investigation seems to be without
merit. See United States Motion to Seal (Dkt. # 177). Indeed, it appears as though the
government has already identified several unindicted co-conspirators and cooperators in its
response to Defendant Nusbaum’s sentencing memorandum. See United States’s Response to
the Sentencing Memorandum of Harvey M. Nusbaum (Dkt. # 184). In that response, the United
States identified Messrs. Dackman, DeLaurentis, Turer and Reiff as cooperating with the
government in the form of providing statements to the FBI. See id. at 2-3 n.1. The United States
also seems to suggest that Messrs. Turer and Reiff were unindicted co-conspirators in that: (a)
“Turer told Reiff that... DRT made it clear to Nusbaum that they wanted to submit cover bids
so that no one could figure out what was going on,” id. (emphasis added); and (2) “Reiff told
Nusbaum and Berman ‘that they were being blatantly obvious about not bidding against each
other. Reiff told them that it made them look guilty .... Reiff suggested that they all do it in a
(Continued ...)
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openness, the requested documents should be unsealed in their entirety subject to Federal Rule of
Criminal Procedure 6(e).

Even if the United States could articulate such an overriding interest, however, sealing
the requested documents in their entirety could not be deemed to be narrowly tailored to serve
that interest. Having been sealed in their entirety, Mr. Schulte does not know precisely what the
Sentencing Memorandum states or what the majority of the exhibits attached thereto constitute.‘
It is inconceivable, however, that every word or phrase in the Memorandum and exhibits requires
protection from the public’s presumptive right of access. To the extent that the protection of
some minor portion of the requested documents would serve some overriding interest, the

appropriate and narrowly-tailored remedy would be to redact that limited portion.

CONCLUSION
For the foregoing reasons, this Court should grant Mr. Schulte’s motion to intervene, and
should order that the Sentencing Memorandum, and exhibits thereto, as to Defendant Nusbaum

be unsealed.

 

less obvious way, like put in some bids on liens the others wanted that they knew were not going
to win.’” Id.

4 Mr. Schulte knows only that a handful of the exhibits are FBI 302 reports summarizing

interviews of various witnesses. See United States’s Response to the Sentencing Memorandum
of Harvey M. Nusbaum (Dkt. # 184).
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Respectfully submitted,

 

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CERTIFICATE OF SERVICE

I hereby certify that on this 16th day of November, 2010, true and correct copies of the

foregoing, together with the attached proposed order, were served via electronic mail and first-

class mail upon the following:

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